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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON

 UNION GOSPEL MISSION OF YAKIMA,
 WASH.,
                           Plaintiff,          Civil Case No.: 1:23-cv-03027
       v.
 ROBERT FERGUSON, ET AL.,                         (PROPOSED) ORDER GRANTING
                           Defendants.              MOTION FOR PRELIMINARY
                                                          INJUNCTION




      Before the Court is Plaintiff’s Motion for Preliminary Injunction. The Court,
having considered the parties’ arguments, hereby GRANTS Plaintiff’s Motion for

Preliminary Injunction. The Court finds that Plaintiff is likely to succeed on the
merits of its claims; will suffer and is suffering irreparable harm in the absence of a
preliminary injunction; the harm to Plaintiff in the absence of a preliminary
injunction outweighs any harm to Defendants; and a preliminary injunction is in
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the public interest. See Am. Beverage Ass'n v. City & Cnty. of San Francisco, 916
F.3d 749, 754 (9th Cir. 2019).

      Accordingly, pursuant to Fed. R. Civ. P. 65, the Court ORDERS the
following:
   A. Defendants are enjoined from enforcing (including through investigations)
      the Washington Law Against Discrimination against Union Gospel Mission
      of Yakima, Wash. for preferring and hiring only coreligionists—those who
      agree with and will adhere to its religious tenets and behavior

      requirements—for its non-ministerial positions, including its IT technician
      and operations assistant positions;
   B. Defendants are enjoined from enforcing (including through investigations)
      the Washington Law Against Discrimination against Union Gospel Mission
      of Yakima, Wash. for publishing and communicating its religious beliefs
      and behavior requirements for non-ministerial employees to others,
      including by publishing its Religious Hiring Statement; and
   C. Plaintiff is not required to give security.
   This Order is effective immediately and shall remain effective during the
pendency of this action.


DATED __________                               _________________________
                                               Judge Mark K. Dimke
                                               United States District Judge
